                    Gilbert, Joel </O=BALCHlOU=FIRST ADMINISTRATIVE
  From:
                    GROUP/CN=RECIPIENTS/CN=JGILBERT>
  Sent:             Tuesday, May 24, 201611:16 AM
  To:               'David Roberson' <droberson@drummondco.com>;
                    'mikethompson@thompsontractor.com'; 'Van Richey (vrichey@american-usa.com)';
                    'Godfrey, Mike (Environmental)' <JGODFREY@southernco.com>; 'Susan Comensky'
                    <SCOMENSK@southernco.com>
  Subject:          AJE Update on Community Outreach / EPA Tarrant Activities / Etc. (Attorney Client
                    Communication / Privileged & Confidential)
  Attach:           House Oversight Committee.msg; Scanned from CNCLSHRP.PDF; EPA_l.pdf


  Attorney Client Communication / Privileged & Confidential

  Congressional Oversight Hearing

  On May 18th, we were contacted by Rep Palmer's DC office, regarding a Congressional Oversight Committee hearing
  scheduled for the next morning concerning EPA employee misconduct. Palmer's office asked if we could make sure
  Palmer was up to speed on the North Birmingham / Tarrant issues and help him develop some talking points for the
  hearing. Working with Jeff Wood in Balch's DC office, we developed some talking points concerning EPA's activities in
  Tarrant based on the affidavits Get Smart obtained through its community outreach work. Attached is an email from
  Jeff Wood summarizing the hearing which also provides a link to a recording of the hearing and an article concerning the
  hearing. If you would like to view Rep. Palmer's remarks and questions, they begin around the 1:51:24 mark in the
  video. Rep. Mulvaney's comments (which also refer to the issues in Tarrant and mentioned in Jeff's attached email) can
  be found around the 1:39:59 mark in the video.

  Per our request, Rep. Palmer did not enter the referenced affidavit used in his remarks into the record nor released the
  name of the affiant. The May 19th hearing was the initial role out of the affidavits. As David Roberson and I have been
  discussing with his office, Rep. Palmer plans to delve more into this issue in an upcoming hearing with Administrator
  McCarthy. In that hearing, he plans to have several of the residents as well as Mayor Tuck and Dr. Mize, City of Tarrant
  School Superintendent, on video tape describing their interactions with EPA. This week, Rep. Palmer and his staff are
  working with the City of Tarrant and Get Smart to meet with the affiants and City representatives for video statements.

  EPA Activities

  Although we cannot confirm this at this time, we have been told by various parties that have been meeting with EPA
  that Region 4 will not be moving forward with the investigation into Tarrant. Per our information, given the sampling
  results of the Phase 1 sampling and the push back from the Tarrant residents and city representatives, EPA does not
  believe pursuing any further investigation of Tarrant would be beneficial. EPA is scheduled to issue their final report and
  response to the GASP petition within the next 6 weeks. However, those in contact with EPA have been told that Region
  4 will be refocusing its efforts on the North Birmingham superfund site and looking to expand the superfund site south
  into the Norwood/Kingston areas based on the recent sampling performed in March.
  In addition, it is our understanding that Councilor Lundy is pushing EPA to begin assessing the Hooper City and ACIPCO
  neighborhoods to determine whether the superfund site should be expanded into those areas as well. It is not clear at
  this time as to whether EPA is interested in assessing these areas.

                            th
  Related to this, on May 20 , EPA announced it would be providing two grants totaling $600,000 to Birmingham and
  Tarrant. Specifically, Birmingham will receive a $400,000 community-wide assessment grant and Tarrant will receive a
  $200,000 clean up grant for the Tarrant Industrial Complex. (See links: https://www.epa.gov/newsreleases/epa-
  announces-600000-assess-and-c1ean-contaminated-sites-transform-and-uplift / http://abc3340.com/news/local/epa-
  money-will-help-revitalize-birmingham-neighborhoods ).




CONFIDENTIAL                                                                               Balch-ORF-PRIV-003789



                                                                                                     Balch-ORF-PRIV-003789
                                                                                      1221
                                                                                                               DX 1221 - 001
  Finally. it is our understanding Gina McCarthy, EPA Administrator, is scheduled to visit Birmingham in June. The purpose
  of the meeting is to visit the new EPA EJ outreach office recently established at Lawson State and tour the North
  Birmingham Superfund site and discuss EPA's "next steps" for the superfund site.

  City of Birmingham

  During the recent changes in committee assignments spurred by the new Mayor/Council legislation that was passed at
  the end of the legislative session, a new Environmental Justice (EJ) Committee made up of Parker (as the chair), Lundy
  and Roberson was formed by the Birmingham City Council (see attached scanned council committee sheet). We are
  currently gathering more information on this committee. Given the issues in North Birmingham/Inglenook and the
  surrounding areas (soon to include the Norwood/Kingston and potentially the ACIPCO and Hooper City neighborhoods),
  EPA's opening of two EJ outreach offices in Birmingham (Lawson State and North Birmingham)and activities by Parker
  and Lundy, this committee should be followed closely.

  Community Outreach Activities

  Given the above information, we have been working with our community outreach representatives and Get Smart to
  develop a strategy for the Kingston and Norwood communities. This past weekend and this week, community
  representatives began handing out literature concerning EPA's activities and fliers about Get Smart to the residents of
  those communities. (attached is an example of a flier that was used in Tarrant, a variation of this is being used in
  Norwood/Kingston). In addition, to ensure we stay current on any developments in those neighborhoods as well as the
  ACIPCO and Hooper City neighborhoods, community representatives have been attending and will continue to attend
  the monthly neighborhood association meetings for those areas. Likewise, community representatives have been
  attending the North Birmingham Citizens Coalition meetings as well to stay abreast of information provided to that
  committee by EPA, GASP, the City of Birmingham, as well as others, as it related to the North Birmingham Superfund
  site.

  Let me know if you have any questions on any of the above. Thanks.
  Joel




    A CH
  Joel!. Gilbert, Partner, Balch & Bingham LLP
  1901 Sixth Avenue North • Suite 1500 • Birmingham, AL 35203-4642
  t: (205) 226-8737 f:(205) 488-5824 e: jgilbert@balch.com
  www.balch.com




CONFIDENTIAL                                                                             Balch-ORF-PRIV-003790



                                                                                                   Balch-ORF-PRIV-003790
                                                                                                             DX 1221 - 002
                    Wood, Jeff </O=BALCHlOU=EXCHANGE ADMINISTRATIVE GROUP
  From:
                    (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=JEFF WOODA7B>
  Sent:             Wednesday, May 18,2016 1:23 PM
  To:               Gilbert, Joel <jgilbert@balch.com>
  Subject:          House Oversight Committee


  Joel,

  Here is a quick recap of the House Oversight Committee hearing this morning where Rep. Gary Palmer and Rep. Mick
  Mulvaney (R-SC) expressed concerns about EPA's actions in North Birmingham. Note that, after the hearing, Rep. Palmer
  called and mentioned the idea of a House hearing on this specific topic, perhaps a field hearing. He seemed to have a
  preference for a hearing in Washington that addressed a broader set of issues. The purpose of the hearing was to
  "examine how the U.S. Environmental Protection Agency (EPA) handles employee misconduct, and ways the Agency can
  improve its response to this ongoing problem." There were two witnesses: Stanley Meiburg (Acting Deputy
  Administrator of EPA) and Patrick Sullivan (Assistant Inspector General for Investigations at EPA). Many members
  attended and participated in the question and answer portion of the hearing. A video of the hearing is available at
  https://oversight.house.gov/hearing/examining-employee-misconduct-at-epa/.

  Approximately one hour into the hearing, Rep. Palmer was recognized and given the opportunity to question the
  witnesses. He began by discussing the ongoing concerns with EPA actions in North Birmingham. He stated that, in his
  opinion, EPA employees have acted improperly by seeking access to property without the permission of the owner and
  intimidating occupants of the property to get information. He referenced an unnamed affidavit of a Tarrant resident
  alleging that an EPA employee intimidated them into signing a release for access to property, and that the EPA employee
  stated that the agency was seeking to shutdown the ABC Coke plant. Rep. Palmer described it as a "clear violation" for
  EPA employees to require a resident to sign a release to sample property that they did not own.

  After reading from the release, Rep. Palmer asked the witnesses whether EPA disciplines employees who act in an
  "overzealous" manner. Mr. Meiburg responded that EPA takes action against employees who engage in misconduct.
  Rep. Palmer asked whether EPA "punishes or encourages" that kind of behavior. Mr. Meiburg stated that EPA
  investigates and takes appropriate action.

  Rep. Palmer noted that there are several other similar affidavits, but that he wou Id not be releasing those or disclosing
  names at this time. He then asked whether it is appropriate for EPA personnel to pressure and "intimidate" Alabama
  citizens into endorsing EPA's agenda. Mr. Meiburg responded that he is unfamiliar with the facts of this particular issue
  in Tarrant. In response, Rep. Palmer restated the facts that EPA forced a renter to give access to property in an
  intimidating manner and told them that the point of the investigation was to shut down a legal business. He asked
  whether EPA allows this conduct and whether he was aware that such instances take place. He also asked whether it is
  appropriate for EPA employees to seek to "shut down" a business that employs many people. Mr. Meiburg stated that
  EPA's job is to enforce the law.

  Next, Rep. Palmer referred to his letter to EPA about the North Birmingham issues. In that letter, Rep. Palmer raised
  concerns with EPA's assertion of jurisdiction under CERCLA over "air deposition," as opposed to land disposal. In EPA's
  response, the agency cited a memorandum entitled "Restrictions on Communicating with Outside Parties Regarding
  Enforcement Actions" that EPA claims would not allow them to discuss details of the matter. Rep. Palmer expressed the
  concern that this EPA response undermines congressional oversight and that he intends to look closely at this matter. He
  also asked for permission to include his letter to EPA along with EPA's response in the hearing record, which was agreed
  to by the chairman.

  A few minutes later, Rep. Mick Mulvaney (R-SC) also raised this issue during his remarks. Specifically, he mentioned the
  Alabama issue involving an "allegedly overzealous" EPA employee and noted that this is the kind of scenario that he
  hears about "all of the time." He described EPA employees as, at times, "overzealous" or as engaging in "shakedown."




CONFIDENTIAL                                                                                Balch-ORF-PRIV-003791


                                                                                                        Balch-ORF-PRIV-003791
                                                                                                                   DX 1221 - 003
  He then asked, has anyone at EPA ever been fired for engaging in conduct in that manner? Rep. Mulvaney clarified that
  he is referring to situations where an EPA employee "overreaches" in their conduct, noting the "temptation" to use the
  authority of government to "stick it to a person." Mr. Meiburg said he is not aware of a similar case involving a person
  who overused their authority and was fired. He said he would ask EPA staff to find out. Rep. Mulvaney also asked Mr.
  Sullivan (Inspector General's office) whether, in a situation like the one mentioned by Rep. Palmer involving an
  "overzealous" EPA employee and exceeded their authority, it would merit a review by the Inspector General. Mr.
  Sullivan said such a scenario "could" merit review, but he stated that the issue raised by Rep. Palmer has not yet been
  raised to the Inspector General's office. Other questions were raised about "what it takes to get fired from the EPA?"
  Mr. Meiburg discussed instances involving employment terminations at EPA.

  This article briefly discusses Rep. Palmer's questions at the hearing, http://www.thepostemail.com/2016/05/18/house-
  oversight-committee-conducts-hearing-on-epa-abuses-employees-convicted-of-crimes/.

  I would expect other articles on this topic.

  FYI,
  Jeff


  BA CH
    B I 'G 111\"


  Jeffrey H. Wood, Partner, Balch & Bingham LLP
  601 Pennsylvania Avenue, NW • Suite 825 South· Washington, DC 20004-2601
  t: (202) 661-6345 f:(866) 226-1871 e: jhwood@balch.com
  www.balch.com




CONFIDENTIAL                                                                              Balch-ORF-PRIV-003792


                                                                                                      Balch-ORF-PRIV-003792
                                                                                                                 DX 1221 - 004
                                                                         Myl0CCN10Ij.Rl



                   Submitted by:             Council President lohnathan Austin

                   Recommended by:           Council President lohnathan Austin



                                   RESOLUTION NO.           _

       BE IT RESOLVED by the Council of the City of Birmingham in accordance with section
       Sec. 2-2-14 of the Birmingham City Code that the following committees and its
       members are hereby ratified as approved by the Council President:



       Administration I Technology
                    Chair: Johnathan Austin
                    Committee Members: Steven Hoyt, Marcus Lundy

       Economic Development I Budget & Finance
                   Chair: Marcus Lundy
                    Committee Members: Lashunda Scales, Johnathan Austin

       Education
                    Chair: Valerie Abbott
                    Committee Members: Kim Rafferty, William Parker

       Utilities
                    Chair: Jay Roberson
                    Committee Members: Valerie Abbott, Sheila Tyson

       Public Improvement and Beautification & Park & Recreation
                    Chair: Sheila Tyson
                    Committee Members: Lashunda Scales, Steven Hoyt

       Planning & Zoning
                    Chair: Kim Rafferty
                    Committee Members: William Parker, Valerie Abbott




CONFIDENTIAL                                                          Balch-ORF-PRIV-003793



                                                                            Balch-ORF-PRIV-003793
                                                                                    DX 1221 - 005
       Public Safety & Transportation
                     Chair: Steven Hoyt
                     Committee Members: Shelia Tyson, Kim Rafferty

       Governmental Affairs:
                     Chair: Lashunda Scales
                     Committee Members: Johnathan Austin, Marcus Lundy

       Environmental Justice:
                    Chair: William Parker
                    Committee Members: Marcus Lundy, Jay Roberson




       ADOPTED this tenth day of May, Two Thousand and Sixteen.




CONFIDENTIAL                                                         Balch-ORF-PRIV-003794



                                                                           Balch-ORF-PRIV-003794

                                                                                  DX 1221 - 006
                                Parking
        Councilor

        Jay

        Roberson




        Councilor

        William

        Parker



        Councilor

        Valerie

        Abbott

        DriveWay




        Councilor   Councilor

        Sheila      Marcus

        Tyson       Lundy

        Pro-Tern    Councilor

        Steven      Lashunda

        Hoyt        Scales

        President   Councilor

        Johnathan   Kim

        Austin      Rafferty




CONFIDENTIAL                              Balch-ORF-PRIV-003795



                                                Balch-ORF-PRIV-003795
                                                       DX 1221 - 007
                                    Offices
         President Pro Tem     Council
               Steven         President
                Hoyt         Johnathan
                               Austin

               Councilor
                Marcus
                Lundy


               Councilor
                Shelia
                Tyson


               Councilor
               Lashunda
                Scales


               Councilor
                 Kim
                Rafferty


               Councilor
                William
                Parker


               Councilor
                Valerie
                Abbott


               Councilor
                 Jay
               Roberson




CONFIDENTIAL                                  Balch-ORF-PRIV-003796



                                                    Balch-ORF-PRIV-003796

                                                           DX 1221 - 008
(.)
oZ
"T1
C
m
z
-4
»
r




         As you may know, the Environmental Protection Agency (EPA'}, is in the Tarrant area testing soil ¥ina mi
         have heard different information about what could happen in Tarrant if the EPA conside s the ar a a Su
         Site. However, Get Smart would like to give you the FACTS.

          •
         No money will be given to any resident to purchase a new home or for personal use
   ,-_  _..
         Your property value will decrease
          •
         You will not be able to sell your property
          •
         The EPA will not give you any money
         Local businesses will be hurt
         Local school's attendance will decrease
         If you do NOT own the property" you can NOT sign the release to allow the EPA to test the property
       • Yout property value will decrease but you will still have to pay your current property tax
   I~~~~ If placed on the NPL list your property will be considered a toxic dump
         EVEN IF THERE IS NO CONTA:MINATION OF YOUR PROPERTY BUT THE AREA IS DESIGNATED AS A
         SUPERFUND SITE 0R PUT ON THE NPL LIST, THEN EVERYONE IN THE CITY OF TARRANT PROPERTY
m
D)
         VALUE WILL PLUMMET
(')                                   '/
:::r
o
 I
                 If you have any questions or concerns, please contact Get Smart at 205-541-9297 or
:::0
"T1
                                            GetSmartTarrant@gmail.com
 I
"'tJ
:::0
<
oo
w
.....
CD
.....



                                                                                                                    DX 1221 - 009
